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                MATTHEW J. KLUGER
                ATTORNEY AT LAW

                                                                        888 GRAND CONCOURSE, SUITE 1H
                                                                        BRONX, NEW YORK 10451
                                                                        (718) 293-4900 • FAX (718) 618-0140
                                                                        www.klugerlawfirm.com

                                                                        January 8, 2021

                By ECF
                Honorable Lorna G. Schofield
                United States Courthouse
                40 Foley Square
                New York, New York 10007

                        Re:     United States v. Tony Tartt
                                20 Cr. 339 (LGS)

                Dear Judge Schofield:

                       A status conference in this matter is scheduled for January 14, 2021 at 11:00 a.m.
                For the reasons which follow, I write now to respectfully request that the matter be
                adjourned for 45-days.

                        On December 9, 2020, I was substituted as counsel for Mr. Tartt. Since that time, I
                have had endeavored to catch up on this case by engaging in discussions with Mr. Tartt as
                well as AUSA Jacob Fiddleman and prior counsel. I have recently received discovery in
                this matter and have begun my review. Nevertheless, I am not in a position yet to determine
                what, if any, motions need to be filed nor whether a disposition can be reached in this case
                short of trial. It is primarily for these reasons that the adjournment is requested.

                        For these same reasons, and in the interests of justice, I request that all time between
                January 14, 2021 and the anticipated adjourn date be excluded under the Speedy Trial Act.
                I have conferred with AUSA Fiddleman who consents to this adjournment request.

                        Thank you.
Application Granted. On or before February 18, 2021,
                                                                        Respectfully,
Defendant shall file a letter informing the Court of his intent to
file any motions. The status conference currently scheduled for
                                                                        /s/ Matthew J. Kluger
January 14, 2021, is adjourned to February 25, 2021 at 11:15
                                                                        Matthew J. Kluger, Esq.
a.m. For the reasons stated above, the Court finds that the ends        Attorney for Tony Tartt
of justice served by excluding the time between today and
February 25, 2021 outweigh the best interests of the public and         cc:     AUSA Jacob R. Fiddleman
the Defendant in a speedy trial as provided in 18 U.S.C. 3161(h)
(7)(A). It is hereby ORDERED that the time between today and
February 25, 2021 is excluded. The Clerk of the Court is
directed to terminate the letter motion at docket number 18.
Dated: January 11, 2021
New York, New York
